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                                        UNITED STATES DISTRICT COURT
                          for the                                      District of                               New Jersey

                 United States of America
                                                                                               ORDER SETTING CONDITIONS
                                   V.                                                                 OF RELEASE
                  OsurP~~Jr                                                                 Case Number: 18-4513:~LHG)
                            Defendant
                                  ~           l\                                    .
IT IS ORDERED on this ~ day o f ~ 2018 that the release of the defendant is subject to the following conditions:

The defendant shall not collllilit any offense it) violation of federal, state or local law while on release in this case.

Bail be fixed at $   lOb  I ()Q     O       and the defendant be released upon:                  _·        _ \
       K)     Executing a(n) secured/unsecured appearance bond ~ with co-signor; J ~f'\\1\¢. ~?Mt~
       ( ) Executing an appearance bond and depositing in cash in the registry of the Court _ _. _% of the bail fixed.
       ( ) Executing an appearance bond with approved sureties , or the deposit of cash in the full amount of the bail in lieu thereof;
       ( ) Execute an agreement to post designated property. Local rule (re: value of property) waived/not waived by the Court.
IT IS FURTHER ORDERED that, in addition to the above, the following conditions are imposed:
       (X) Report to Pretrial Services ("PTS") as directed and advise them as soon as possible if you have any contact with law
              enforcement personnel, including but not limited to, any arrest, questioning or traffic stop.
       <X>    The defendant not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any witness,
              victim, or informant; not retaliate against any witness, victim or informant in this case.
       ( ) The defendant be released into the third party custody of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                         Signed:                                                   Date: _ _ _ _ _ _ _ _ __
                who agrees (a) to supervise the defendant in accordance with aUthe conditfons of release, (b) to use every effort to assure the appearance of the defenda11t
                at all scheduled court pmceedings, and (C) to notify the court immediately in the event the defendant violates any, co~ditions ofre)ease or di~ppears. . -

       (X) The defendant's travel is restricted to ~New Jersey ( ) New York ~Other~                                           t )~ ,unless approved by Pn
       (X) •Surrender passport and/or other travel docilrilents to PTS and obtain no new one.                                      4.- l( tt(l"~
        (   ) Drug and/or alcohol testing/treatment as deemed appropriate by PTS.
        (   ) Surrender firearms or other dangerous weapons; surrender fireann purchaser's permit to PTS.
        I)() Mental health testing/treatment as deemed appropriate by PTS.
        ( ) Defendant to participate in one of the following home confinement program components and abide by all the requirements of
             the program which ( ) will or ( ) will not include electronic monitoring or other location verification system. .You shall pay all
             orpart of the cost of the program based upon your ability to pay as determined by the pretrial services.
                             Curfew. You are restricted to your residence every day ( ) from ___ to                    , or ( ) as directed by
               ( ) (i)
                             the pretrial services office or supervising officer; or
               ( ) (ii) Home Detention. You ate restricted to your residence at all times except for employment; education; religious
                             services; medical, substance abuse, otmentalhealth treatment; attorney visits; court appearances; court-ordered
                             obligations; or other activities as pre-approved by the pretrial services office or supervising officer; or
               ( ) (iii) Home Inca,rceration. You are restricted to your residence at all times except for m,edical neeqs or treat:Irlent,
                             religious services, and court appearances pre-approved by the pretrial services office or supervising officer.
         ( ) Defendant is subject to the following computer/internet restrictions which may include manual inspection and/or the
                installation of computer monitoring software as deemed appropriate by Pretrial Services;
                ( ) (i) No Computers - defendant is prohibited from possession and/or use of computers or connected devices.
                        (ii) Computer - No Internet Access: defendant is permitted u:se of computers or connected devices, but is not
                ( )           perm*ed access to the Internet (World Wide Web, FTP Si~es, lR.C Servers, Instant Messaging, etc);
                ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and is permitte
                              access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging, etc) at
                              [ ] home           [ ] for employment purposes         [ ] at any location
                ( ) (iv) Consent of Otber Residents -by consent of other residents in the hot:pe; any computers in the home u~ilized by oth,
                              residents shall be approved by Pretrial Services, password protected by a third party custodian approved by Pretri
                              Services, and subject to inspection for com liance by Pretrial Services.



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                                                       Acknowledgment of Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surtender for serVice of any sentence imposed. I am aware of      penalties and sanctions set forth
below.




                                                 Directions to United States Marshid
( )     The defengan~ is ORDERED releaseq. after processing.
'J><t.. The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judicial o ·1cer that the
        defendant has posted bond and/or complied with all other conditions for release


Date:       June 18, 2018


                                                                                               Hon. Lois H. Goodman, U.S.M.J.
                                                                                                Name and Title of Judicial Officer




      TO THE DEFENDANT:

      YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

          A violation of any of the foregoing conditions of release may result in the unmedia~e iss:uance ofa warrant for your arrest,
      revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment,
      a fine, or both.
          The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment

          Federal law makes it a crime punishable by up to 10 years of imprisoruilen:t, and a $250,000 fine ot both to obstruct a criminal
      investigaHon. It is a crime punishable by up to tel). years of imprisonment, and a $250,000 fine or both to tamper with a witness,
      victim or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to
      intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
      significantly more serious if they involve a killing or attempted killing.
          If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of
      you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
          ( 1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
               not more than $250,000 or imprisoned for not more than 10 years, or both;
          (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined
               mote than $250,000 or imprisoned for not more than five years, or both;
          (3) any other felony, you sha11 be fined not more than $250,000 or imprisoned not more than two years, or both;
          (4) a misdemeanor; you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
          A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense.
      addition, a failure to appear or surrender may result in the forfeiture of any bond posted.




   (Rev. 2/08)
